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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: CHINESE-MANUFACTURED DRYWALL                                         CIVIL ACTION
PRODUCTS LIABILITY LITIGATION

                                                                            MDL NO. 09-2047

                                                                            SECTION “L” (5)
THIS DOCUMENT RELATES TO: ALL CASES


                                   ORDER AND REASONS

        Before the Court is Defendants CNBM and BNBM Entities’ motion to certify an immediate

appeal from this Court’s jurisdictional orders. Rec. Doc. 21095. Defendant Taishan joins only

the portion of the motion concerning the Court’s November 28, 2017 opinion addressing Bristol–

Myers Squibb Co. v. Superior Court, 137 S. Ct. 1773 (2017). Rec. Doc. 21096. Plaintiffs oppose

the motion. Rec. Doc. 21158. After reviewing the parties’ arguments and the applicable law, the

Court now issues its Order and Reasons.

I.      BACKGROUND

        From 2004 through 2006, the housing boom in Florida and rebuilding efforts necessitated

by Hurricanes Rita and Katrina led to a shortage of construction materials, including drywall. As

a result, drywall manufactured in China was brought into the United States and used to construct

and refurbish homes in coastal areas of the country, notably the Gulf Coast and East Coast.

Sometime after the installation of the Chinese drywall, homeowners began to complain of

emissions of foul-smelling gas, the corrosion and blackening of metal wiring, surfaces, and objects,

and the breaking down of appliances and electrical devices in their homes. See In re Chinese-

Manufactured Drywall Prods. Liab. Litig., 894 F. Supp. 2d 819, 829-30 (E.D. La. 2012), aff’d,


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742 F.3d 576 (5th Cir. 2014). Many of these homeowners also began to complain of various

physical afflictions believed to be caused by the Chinese drywall.

       These homeowners then began to file suit in various state and federal courts against

homebuilders, developers, installers, realtors, brokers, suppliers, importers, exporters, distributors,

and manufacturers who were involved with the Chinese drywall. Because of the commonality of

facts in the various cases, this litigation was designated as a multidistrict litigation. Pursuant to a

Transfer Order from the United States Judicial Panel on Multidistrict Litigation on June 15, 2009,

all federal cases involving Chinese drywall were consolidated for pretrial proceedings in MDL 09-

2047 before this Court.

       The Chinese drywall at issue was largely manufactured by two groups of defendants: (1)

the Knauf Entities and (2) the Taishan Entities. The litigation has focused upon these two entities

and their downstream associates, and has proceeded on strikingly different tracks for the claims

against each group.

       A.      The Knauf Defendants

       The Knauf Entities are German-based, international manufacturers of building products,

including drywall, whose Chinese subsidiary, Knauf Plasterboard (Tianjin) Co., Ltd. (“KPT”),

advertised and sold its Chinese drywall in the United States. The Knauf Entities are named

defendants in numerous cases consolidated with the MDL litigation and litigation in state courts.

       The Knauf Entities first entered their appearance in the MDL litigation on July 2, 2009.

Rec. Doc. 18. Thereafter, the Court presided over a bellwether trial in Hernandez v. Knauf Gips

KG, Case No. 09-6050, involving a homeowner’s claims against KPT for defective drywall. See

Rec. Doc. 2713. The Court found in favor of the plaintiff family in Hernandez, issued a detailed

Findings of Fact and Conclusions of Law, and entered a Judgment in the amount of $164,049.64,




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including remediation damages in the amount of $136,940.46—which represented a cost of $81.13

per square foot based on the footprint square footage of the house. See Rec. Doc. 3012.

       Subsequently, the Knauf Entities entered into a pilot remediation program with the

Plaintiffs’ Steering Committee (“PSC”) in the MDL. This program was largely based upon the

remediation protocol formulated by the Court from the evidence in Hernandez. The Knauf pilot

remediation program is ongoing and has, at present, remediated more than 2,200 homes containing

KPT Chinese drywall using the same general protocol. At the Court’s urging, the parties began

working together to monetize this program and make it available to a broader class of plaintiffs.

       On December 20, 2011, the Knauf Entities and the PSC entered into a global, class

Settlement Agreement (“Knauf Settlement Agreement”), which is designed to resolve all Knauf-

related, Chinese drywall claims. See Rec. Doc. 12061-5. In addition to the Knauf Settlement

Agreement, numerous defendants in the chain-of-commerce with the Knauf Entities have entered

into class settlement agreements, the effect of which settles almost all of the Knauf Entities’ chain-

of-commerce litigation. Although the Court occasionally must deal with settlement administration

and enforcement issues, the Knauf portion of this litigation is largely resolved.

       B.      The Chinese Defendants

       The litigation against the Chinese entities has taken a different course. The Chinese

Defendants in the litigation include the principal Chinese-based Defendant, Taishan, namely,

Taishan Gypsum Co. Ltd. (“TG”) and its wholly-owned subsidiary, Taian Taishan Plasterboard

Co., Ltd. (“TTP”) (collectively “Taishan” or “Taishan Entities”). Other Chinese-based Defendants

include the CNBM and BNBM Entities.

       The Court’s initial inquiry regarding Taishan involved four cases in this MDL: (1)

Germano v. Taishan Gypsum Co. (Case No. 09-6687); (2) The Mitchell Co. v. Knauf Gips KG




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(Case No. 09-4115); (3) Gross v. Knauf Gips KG (Case No. 09-6690); and (4) Wiltz v. Beijing New

Building Materials Public Ltd. (Case No. 10-361).

         The first issues involving Taishan arose when Taishan failed to timely answer or otherwise

enter an appearance in Mitchell and Germano, despite the fact that it had been properly served in

each case. See Rec. Docs. 52 & 1-7 (Case No. 09-6687). Thus, after an extended period of time,

the Court entered preliminary defaults against Taishan in both of these cases. See Rec. Docs. 277

& 487.

         Thereafter, the Court moved forward with an evidentiary hearing in furtherance of the

Preliminary Default in Germano on the Plaintiffs’ claimed damages. See Rec. Docs. 502, 1223,

1258 & 2380. At this hearing, the Plaintiffs presented evidence specific to seven individual

properties, which served as bellwether cases. Following this hearing on February 19 and 20, 2010,

the Court issued detailed Findings of Fact and Conclusions of Law. See Rec. Doc. 2380. On May

11, 2010, the Court issued a Default Judgment against Taishan in Germano and in favor of the

Plaintiffs. Rec. Doc. 3013. On June 10, 2010, the last day to timely appeal, Taishan filed a Notice

of Appeal of the Default Judgment in Germano and entered its appearance in Germano and

Mitchell. Rec. Docs. 3668 & 3670.

         After Taishan entered its appearance in the MDL, it quickly sought to have the Default

Judgment in Germano and the Preliminary Default in Mitchell vacated for lack of personal

jurisdiction. See Rec. Docs. 5436 & 5583. In the fall of 2010, the Court directed the parties to

commence the personal jurisdiction discovery necessary to resolve Taishan’s motions to vacate.

Sometime after the initial discovery, the parties agreed to expand the discovery beyond the

Germano and Mitchell cases to other cases in which Taishan had been served, including Gross and

Wiltz.




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       Formal personal jurisdiction discovery of Taishan began in October 2010. See Rec. Docs.

5839 & 5840. Discovery has included the production of both written and electronic documents,

as well as depositions of Taishan’s corporate representatives, with each type of discovery

proceeding in a parallel fashion. This discovery has often been contentious, requiring close

supervision by the Court. The Court has presided over regularly-scheduled status conferences to

keep the parties on track, and conducted hearings and issued rulings to resolve numerous

discovery-related disputes. See Rec. Docs. 7136 & 7511.

       In April 2012, Taishan filed various motions, including its motions to dismiss for lack of

personal jurisdiction. On June 29, 2012, over three years since the creation of this MDL, and after

a year-and-a-half of personal jurisdiction discovery on Taishan, the Court presided over a hearing

on Taishan’s motions. The Court coordinated its hearing with the Honorable Joseph Farina of the

11th Judicial Circuit Court of Florida, who had a similar motion involving Taishan’s challenge to

personal jurisdiction.

       On September 4, 2012, this Court issued a 142-page Order regarding Taishan’s motions in

Germano, Mitchell, Gross, and Wiltz, in which the Court denied the motions to dismiss, and held

that it maintained personal jurisdiction over Taishan. In re Chinese-Manufactured Drywall Prods.

Liab. Litig., 894 F. Supp. 2d 819 (E.D. La. 2012). The Court also ruled that Taishan was operating

as the alter ego of TG. The Court certified an interlocutory appeal, and the Fifth Circuit granted

permission to appeal.

       In January and May of 2014, two different panels of the Fifth Circuit affirmed this Court’s

ruling and held that this Court maintained personal jurisdiction over Taishan and TTP. In re

Chinese-Manufactured Drywall Prods. Liab. Litig., 753 F.3d 521 (5th Cir. 2014); In re Chinese-

Manufactured Drywall Prods. Liab. Litig., 742 F.3d 576 (5th Cir. 2014). The time for writ of




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certiorari passed, and the issue of personal jurisdiction over Taishan became firmly and finally

settled. Nevertheless, Taishan refused to voluntarily participate in this suit.

        On June 20, 2014, the Court ordered Taishan to appear in open court on July 17, 2014 to

be examined as a judgment debtor. Rec. Doc. 17774. Taishan failed to appear for the July 17,

2014 Judgment Debtor Examination, and the Court held Taishan in contempt and ordered that

Taishan pay $15,000.00 in attorney’s fees to Plaintiffs’ counsel; that Taishan pay $40,000.00 as a

penalty for contempt; that Taishan and any of its affiliates or subsidiaries be enjoined from

conducting any business in the United States until or unless it participates in this judicial process;

and that if Taishan violates the injunction, it must pay a further penalty of 25-percent of the profits

earned by the Company or its affiliate who violate the Order for the year of the violation. See Rec.

Doc. 17869.

        On July 23, 2014, Plaintiffs filed their Omnibus Motion for Class Certification pursuant to

Rule 23(b)(3). Rec. Doc. 17883. Taishan did not appear and, on September 26, 2014, this Court

certified a class of

                [a]ll owners of real properties in the United States, who are named
                Plaintiffs on the complaints in Amorin, Germano, Gross, and/or
                Wiltz (i.e., not an absent class member), asserting claims for
                remediated damages arising from, or otherwise related to Chinese
                Drywall manufactured, sold, distributed, supplied, marketed,
                inspected, imported or delivered by the Taishan Defendants.

In re Chinese-Manufactured Drywall Prods. Liab. Litig., 2014 WL 4809520, at *16 (E.D. La.

Sept. 26, 2014).

        Taishan finally entered an appearance with the Court in February 2015, and, to satisfy the

contempt, Taishan paid both the sum of $15,000.00 in attorney’s fees to Plaintiffs’ counsel and the

contempt penalty of $40,000.00 in March 2015. Rec. Doc. 18764. On March 17, 2015, the Court

ordered Taishan and the BNBM and CNBM Entities to participate in expedited discovery related



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to “the relationship between Taishan and BNBM/CNBM, including whether affiliate and/or alter

ego status exists.” Rec. Doc. 17869.

       In March 2016, this Court granted CNBM Group’s motion to dismiss, finding it was an

“agent or instrumentality of a foreign state” within the meaning of the Foreign Sovereign

Immunities Act (“FSIA”), and therefore outside the jurisdiction of this Court under 28 U.S.C.

§ 1603(b). The Court determined that the tortious activity exception did not apply because the

alleged tortious conduct did not occur within the United States under 28 U.S.C. § 1605(a)(5).

Further, the Court found that the commercial activity exception did not apply in this case, as

CNBM Group did not directly manufacture, inspect, sell, or market drywall in the United States.

Because Plaintiffs failed to present evidence sufficient to overcome the presumption that CNBM

Group was entitled to independent status for purposes of the FSIA, the Court granted the motion

and dismissed CNBM Group from the present litigation. See Rec. Doc. 20150.

       On April 21, 2017, the Court issued a 100-page opinion related to jurisdictional challenges

being raised in four separate motions filed by Defendants. Rec. Doc. 20739. The Court found that

Taishan was an agent of BNBM under Florida and Virginia law, such that Taishan’s contacts in

Florida and Virginia are imputed to BNBM. This Court further found that CNBM, BNBM Group,

and BNBM were part of a single business enterprise with Taishan under Louisiana law, such that

Taishan’s contacts in Louisiana may be imputed to Defendants, and the Court has jurisdiction over

Defendants in relation to Plaintiffs’ claims based on Louisiana law.

       Also on April 21, 2017, the Court issued its Findings of Fact and Conclusions of Law

related to the June 9, 2015 damages hearing, and adopted Plaintiffs’ damage calculations

methodology related to remediation of properties. Rec. Doc. 20741.




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       On May 22, 2017, Defendants filed a motion pursuant to 28 U.S.C. § 1292(b) to certify

interlocutory appeal from this Court’s jurisdiction order. See Rec. Doc. 20779. Because the Court

found that its Order and Reasons involves a controlling question of law as to which there is

substantial ground for difference of opinion, and because the Court further found that an

interlocutory appeal from that Order and Reasons may materially advance the ultimate termination

of this MDL, on August 4, 2017, the Court certified an interlocutory appeal to the Fifth Circuit

pursuant to 28 U.S.C. § 1292(b).

       On August 1, 2017, Defendants filed a motion to dismiss for lack of personal jurisdiction

following the recent U.S. Supreme Court case of Bristol–Myers Squibb v. Superior Court of

California. Rec. Doc. 20882. Based on BMS, Defendants contest this Court’s findings of personal

jurisdiction, class certification, and agency relationship. On August 14, 2017, Defendants filed a

petition for permission to appeal pursuant to 28 U.S.C. § 1292(b) in the Fifth Circuit, in which

they argue that the BMS opinion impacts questions raised on appeal. See Rec. Doc. 20898-2 (In

re Chinese-Manufactured Drywall Prods. Liab. Litig., 5th Cir. Docket 17-90027 (Pet. for

Permission to Appeal)). On August 24, 2017, this Court vacated its 28 U.S.C. § 1292(b)

certification order to avoid piecemeal litigations. The Court noted its duty to address the effect of

Bristol–Myers Squibb on the jurisdictional issue before certifying the matter to the Fifth Circuit.

Following the Order vacating this Court’s 28 U.S.C. § 1292(b) certification, the Fifth Circuit

denied Defendants’ petition for permission to appeal. Subsequently, on November 30, 2017, the

Court denied Defendants’ motion to dismiss, holding that Bristol–Myers does not change this

Court’s jurisdictional findings and class certification.




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         Defendants now ask the Court to certify an immediate appeal of the Court’s opinions

concerning Defendants’ agency relationship (Rec. Doc. 20739) and personal jurisdiction after

Bristol–Myers (Rec. Doc. 21088).

III.     LEGAL STANDARD

         Interlocutory appeals are allowed when a district court that issues a non-final order in a

civil case “shall be of the opinion that such order [1] involves a controlling question of law as to

which [2] there is substantial ground for difference of opinion and that an immediate appeal from

the order [3] may materially advance the ultimate termination of the litigation.” 28 U.S.C.

§ 1292(b) (brackets added); see also In re Ichinose, 946 F.2d 1169, 1177 (5th Cir. 1991). The

availability of such an appeal under § 1292(b) does not “jeopardiz[e] the usual rule of not

permitting an appeal until all the proceedings on the trial court level are complete.” 10 Charles

Alan Wright, et al., FED. PRAC. & PROC. JURIS. § 2658.2 (3d ed. 1998 & 2009 supp.). An

interlocutory appeal is “exceptional” and “does not lie simply to determine the correctness of a

judgment.” Chauvin v. State Farm Mut. Auto. Ins. Co., Nos. 06-7145 & 06-8769, 2007 WL

4365387, at *2 (E.D. La. Dec. 11, 2007) (quoting Clark-Dietz & Assocs.-Eng’rs, Inc. v. Basic

Const. Co., 702 F.2d 67, 68, 69 (5th Cir. 1983)). The moving party bears the burden of

demonstrating that interlocutory appeal is appropriate. In re FEMA Formaldehyde Prods. Liab.

Litig., No. MDL 07-1873, 2008 WL 4923035, at *2 (E.D. La. Nov. 13, 2009) (citing In re

Complaint of L.L.P. & D. Marine, Inc., Nos. 97-1668, 97-2992 & 97-3349, 1998 WL 66100, at *1

(E.D. La. Feb. 13, 1998)).

IV.      DISCUSSION

         Defendants seek to certify two opinions from this Court for appeal to the Fifth Circuit: one

on jurisdiction over CNBM and BNBM Entities from their agency relationship with Taishan, and




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the other on personal jurisdiction over Defendants after the Supreme Court’s holding in Bristol–

Myers. The Court will address each in turn.

       A.      Order Concerning Jurisdiction Over CNBM and BNBM Entities

       The Court had previously certified the question of jurisdiction over CNBM and BNBM

Entities for appeal, Rec. Doc. 20890, but vacated that Order in light of Defendants’ then-newly

filed motion to dismiss based on the Supreme Court’s ruling in Bristol–Myers. In vacating the

Order, the Court sought to avoid piecemeal litigation: Defendants had presented overlapping

issues concerning agency relationship with their motion to dismiss based on Bristol–Myers. Rec.

Doc. 20927. Now that this Court has addressed the impact—or lack thereof—of Bristol–Myers on

the instant MDL, the Court’s original reason to vacate its Order certifying appeal is no longer of

concern. Accordingly, the Court concludes that it is now appropriate for the Fifth Circuit to review

the Court’s Order finding jurisdiction over CNBM and BNBM Entities, as that Order involves a

controlling question of law that exists substantial ground for difference. The Court hereby

incorporates its August 4, 2017 Order and Reasons granting Defendants’ motion to certify

immediate appeals pursuant to 28 U.S.C. § 1292(b).

       B.      Order Addressing Personal Jurisdiction After Bristol–Myers

       Defendants’ motion to certify appeal of the Court’s Order addressing Bristol–Myers,

however, presents a new but familiar request. As this Court previously noted, two separate panels

on the Fifth Circuit have already affirmed jurisdiction over Taishan. In re Chinese-Manufactured

Drywall Prods. Liab. Litig., 753 F.3d 521 (5th Cir. 2014); In re Chinese-Manufactured Drywall

Prods. Liab. Litig., 742 F.3d 576 (5th Cir. 2014). Six judges on the Fifth Circuit agreed with this

Court’s opinion on jurisdiction.     See In re Chinese-Manufactured Drywall, 753 F.3d 521

(Higginson, Smith, and DeMoss, JJ.); In re Chinese-Manufactured Drywall, 742 F.3d 576 (Elrod,




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Reavley, and Haynes, JJ.). Both opinions were unanimous. See id. After Defendants took a

second bite at the apple on the Fifth Circuit in 2014, and a third bite with its motion to dismiss

based on Bristol–Myers in 2017, Defendants now crave for a fourth bite with the instant motion to

certify appeal. The Court, nevertheless, rejects that attempt.

         First, Defendants argue that the questions at issue—whether a plaintiff-specific/claim-

specific analysis is required by Bristol-Myers and whether Bristol–Myers applies to class actions—

are controlling, and their resolution would materially advance the litigation. The Court, however,

finds that these questions are not imperative in this MDL. This case is a multidistrict litigation;

jurisdiction is therefore assessed on the basis of the transferor court. “While the cases are in the

MDL court . . . the MDL judge have all of the powers that the transferor court would have . . . .”

Andrew D. Bradt, The Long Arm of Multidistrict Litigation, 59 WM. & MARY L. REV. 1, 3 (2017).

Accordingly, this Court’s authority, based on the various transferor courts, fundamentally

alleviates the “plaintiff-specific/claim-specific” inquiry that Defendants advanced in its motion to

dismiss based on Bristol–Myers.

       The answer to Defendants’ question on whether Bristol–Myers apply to class actions is

straightforward: it does not. In the dissent, Justice Sotomayor recognized that the majority in

Bristol–Myers did not address whether the Supreme Court’s opinion “would also apply to a class

action in which a plaintiff injured in the forum State seeks to represent a nationwide class of

plaintiffs, not all of whom were injured there.” Bristol–Myers, 137 S. Ct. at 1789 n.4 (Sotomayor,

J., dissenting). And several lower courts, including this one, have followed that interpretation.

See, e.g., Fitzhenry–Russell, et al. v. Dr. Pepper Snapple Group, Inc., No. 17-CV-00564 NC, 2017

WL 4224723, at *5 (N.D. Cal. Sept. 22, 2017); Day v. Air Methods. Corp., No. 5:17-183-DCR,

2017 WL 4781863, at *2 (E.D. Ky. Oct. 23, 2017) (holding that claims of non-resident unnamed




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class members did not destroy personal jurisdiction because “the inquiry for personal jurisdiction

lies with the named parties of the suit asserting their various claims against the defendant, not the

unnamed proposed class members”); Thomas v. Kellogg Co., No. C13-5136RBL, 2017 WL

5256634, at *1 (W.D. Wash. Oct. 17, 2017) (denying defendant’s motion to dismiss opt-ins’

claims, explaining that it is “not at all clear that Bristol-Myers even applies” to cases concerning

federal class claims in federal court).

       More recently, two sister courts have agreed with this Court’s analysis on Bristol–Myer’s

impact on class actions. In Sanchez v. Launch Tech. Workforce Sols., LLC, the Northern District

of Georgia held that “Bristol–Myers simply reaffirms controlling due-process law and does not

apply to federal class actions. . . .” No. 1:17-CV-01904-ELR, 2018 WL 942963, at *1 (N.D. Ga.

Feb. 14, 2018). In a putative nationwide class action against General Motors for defective car

engines, the Northern District of California also recognized that a federal court “may well have

jurisdiction over absent class members (including the named out-of-state plaintiffs) who are non-

forum residents in any event.” Sloan v. Gen. Motors LLC, No. 16-CV-07244-EMC, 2018 WL

784049, at *9 (N.D. Cal. Feb. 7, 2018). Furthermore, similar to this Court’s opinion addressing

Bristol-Myers, the federal court in California also identified that the Supreme Court’s focus in that

case is on federalism. Judge Chen wrote:

               In contrast to Bristol–Myers, the due process right does not obtain
               here in the same manner because all federal courts, regardless of
               where they sit, represent the same federal sovereign, not the
               sovereignty of a foreign state government. There is no risk of a state
               court exceeding the bounds of its state’s sovereignty and subjecting
               residents of another state to the coercing power of its courts.
               Therefore, where a federal court presides over litigation involving a
               federal question, the due process analysis does not incorporate the
               interstate sovereignty concerns that animated Bristol–Myers and
               which may be “decisive” in a state court’s analysis. Id. Without
               those interstate federalism concerns, the due process analysis falls
               back on whether “the maintenance of the suit . . . offend[s]


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               ‘traditional notions of fair play and substantial justice,’” Int’l Shoe
               Co. v. Washington, 326 U.S. 310, 316 (1945) (citation omitted),
               which itself focuses on the burden on the defendant (other than a
               concern about subjecting it to the power of a foreign sovereign.

Id. at *7.

        Indeed, the governing jurisprudence on personal jurisdiction for foreign defendants

remains International Shoe, 326 U.S. 310, Asahi Metal Industry Co. v. Superior Court, 408 U.S.

102 (1987), and J. McIntyre Machinery, Ltd. v. Nicastro, 564 U.S. 873 (2011). The Fifth Circuit

and this Court have already applied that analysis, and found that Taishan made substantial contacts

in Louisiana, Virginia, and Florida. Therefore, personal jurisdiction over Defendants in those

jurisdictions is fair and comports with due process.

        The Supreme Court in Bristol–Myers found little, if any, contacts between non-resident

plaintiffs and the pharmaceutical company in California; therefore, the state courts in California

cannot exercise personal jurisdiction over the company for claims arising from non-resident

plaintiffs. But again, that analysis pertains to mass torts—not class actions. Class actions are

uniquely different from mass torts: a class action is a non-traditional litigation procedure that

permits a representative with typical claims to sue on behalf of, and stand in judgment for a class,

provided that the representative can establish the prerequisites to class certification. See United

States Parole Comm’n v. Geraghty, 445 U.S. 388, 402 (1980). The demand of class certification

requires numerosity, commonality, typicality, adequacy of representation, predominance and

superiority. Fed. R. Civ. P. 23(a)&(b). In this case, because of the default judgments, liability of

the Taishan Defendants is conclusively established. Therefore, the Court has certified the Amorin

class under Rule 23 to determine class-wide property damages after the Court determined that the

instant class satisfied class action requirements. Accordingly, because this litigation is a class




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action, Bristol–Myers—a mass torts case—does not disrupt this Court’s jurisdiction over

Defendants.

       Second, Defendants argue that there exists substantial grounds for difference of opinion

about whether BMS applies to class actions. Indeed, some courts have taken a different position

from this Court, the Northern District of California, and the Northern District of Georgia. See,

e.g., McDonnell v. Nature’s Way Products LLC, 2017 WL 4864910, at *4 & n.7 (N.D. Ill. Oct. 26,

2017) (“Because the only connection to [the forum state] is provided by [the named plaintiff’s]

purchase of Women’s Alive . . . the Court dismisses all claims . . . brought on behalf of non-[forum

state] residents. . . .”); DeBernardis v. NBTY, Inc., No. 17 C 6125, 2018 WL 461228, at *2 (N.D.

Ill. Jan. 18, 2018); Wenokur v. AXA Equitable Life Ins. Co., No. 17-cv-00165, 2017 WL 4357916,

at *4 n.4 (D. Ariz. Oct. 2, 2017). However, “[t]he threshold for establishing a ‘substantial ground

for difference of opinion’ is higher than mere disagreement or even the existence of some contrary

authority.” See Ryan v. Flowserve Corp., 444 F. Supp. 2d 718, 724 (N.D. Tex. 2006). “[S]imply

because a court is the first to rule on a question or counsel disagrees on applicable precedent does

not qualify the issue as one over which there is substantial disagreement.” Id. (citation omitted).

With respect, this Court is unpersuaded that the Supreme Court intended a blanket extension of

Bristol–Myers, which concerned mass torts, to class actions.

       Finally, certifying the Court’s BMS Order will not materially advance this litigation. This

Court has repeatedly raised concern about the glacial progress of this MDL, in part due to

Defendants’ delay tactics. This MDL was consolidated in 2009, but Defendants did not make an

appearance until default judgments were entered. Now, nine years later, thousands of plaintiffs

still have outstanding claims, without remedy after installing defective Chinese drywalls and

suffering from them. Any further delay, as a result of an unnecessary interlocutory appeal, is unfair




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for plaintiffs. Accordingly, this Court refuses to certify appeal of its opinion addressing Bristol–

Myers.

V.       CONCLUSION

         Based on the foregoing reasons, accordingly,

         IT IS ORDERED that Defendants’ motion to certify immediate appeals under 28 U.S.C.

§ 1292(b), Rec. Doc. 21095, is hereby GRANTED IN PART and DENIED IN PART. At this

juncture, Defendants may only appeal the Court’s opinion concerning personal jurisdiction from

their agency relationship (Rec. Doc. 20739).


         New Orleans, Louisiana, this 5th day of March, 2018.



                                                     ____________________________________
                                                     ELDON E. FALLON
                                                     United States District Judge




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